4:06-cr-03016-JMG-CRZ       Doc # 218     Filed: 12/07/10     Page 1 of 1 - Page ID # 1872




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )                     4:06CR3016
                                           )
            v.                             )
                                           )
ARMANDO GARCIA-DELACRUZ,                   )       ORDER SCHEDULING TELEPHONIC
                                           )                 HEARING
                   Defendants.             )
                                           )


      IT IS ORDERED that:

      1.     the Motion for Hearing Pursuant to Fed. R. Crim. P 44, is granted;

      2.    the hearing is scheduled for December 22, 2010, at 12:15 p.m., CST in Courtroom
            No. 4, U.S. Courthouse, 100 Centennial Mall North. Lincoln, Nebraska; and

      3.    the defendant, Armando Garcia-Delacruz shall be connected by telephone to
            participate in the hearing.

      Dated December 7, 2010.

                                  BY THE COURT

                                  s/ Warren K. Urbom
                                  United States Senior District Judge
